USDA           United States Department of Agriculture
               Animal and Plant Health Inspection Service
                                                                   Reference Number: lA 120008-AC

iliiii         Investigative and Enforcement Services
                                                                   Issuance Date: April 29, 2013
                                                                   Version: Final




VIA: USPS Certified Mail                                                    April29, 2013
Shipping Event: I st

Tom and Pamela Sellner
Dba: Cricket Hollow Zoo
1512 21 Oth Street
Manchester, lA 52057



                                   SETTLEMENT AGREEMENT


Dear Sir or Madam:

We believe that you violated the Animal Welfare Act (7 U.S.C. § 2131 et seq.) (A WA), as
described in the attached Settlement Agreement. Our agency, the Animal and Plant Health
Inspection Service (APHIS), is responsible for enforcing the A WA, and other agriculture laws
that help prevent the spread of animal and plant pests and diseases, and ensure the welfare of
animals.

After providing you with an opportunity for a hearing, we may impose civil penalties of up to
$10,000, or other sanctions, for each violation described in this Settlement Agreement. We are
offering you the opportunity to resolve this matter by paying an amount that is much lower than
the maximum civil penalty.

What are the terms of the Settlement Agreement?

You should review the information in this Settlement Agreement, including the citation and
notification of penalty.

If you agree to waive your right to a hearing and pay the penalty, then do the following:

           o     Pay the amount due, $6,857, by May 29, 2013. You can pay by check, money
                 order, or credit card. For your convenience, we have included additional
                 instructions for making payments.




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                                                                                    EXHIBIT 18 PAGE 0001
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             o     If you are unable to pay the full amount due by May 29,2013, you may be
                   eligible for a payment plan. To request a payment plan, you must use the
                   enclosed form to submit a written response to this letter by May 29, 2013, that
                   indicates you wish to pay the penalty and waive your right to a hearing. You
                   must also submit a copy of your most recent federal tax return. As part of your
                   response, please include a phone number and an email address so that we may
                   contact you.


What are my other options?

If you do not agree with the terms of this Settlement Agreement, submit a written request for a
hearing, with your Reference Number, to our office by May 29,2013, at 4700 River Rd., Unit
85, Riverdale, MD, 20737.

What happens if I fail to respond?

If we do not receive a payment or hearing request from you by May 29,2013, we will forward
this matter to our Office of the General Counsel for litigation.

What should I do      if I need help?
If you have any questions concerning this letter, contact Robert Randen at (30 1) 851-2785, or
call our main office at (30 I) 851-2948.

I am a small business owner and have comments or concerns regarding APHIS's enforcement of
animal and plant health laws. Who should I contact?

APHIS always welcomes comments on how it can better assist small businesses. If you have
comments about APHIS's enforcement of animal and plant health laws, please contact me,
Robert J. Huttenlocker, the APHIS Small Business Ombudsman, at 301-851-2948. If you would
prefer to comment to someone outside APHIS, you may contact the Small Business Regulatory
Enforcement Ombudsman at htto://sba.l!ov/ombudsman, email ombudsman@sba.gov, or toll free
at 1-888-REG-FAIR. The Ombudsman's office receives comments from small businesses and
annually evaluates federal agency enforcement activities for their responsiveness to the special
needs of small businesses.


Sincerely,

/).~,~~,
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Robert J. Huttenlocker
Director




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Tom and Pamela Sellner
Dba: Cricket Hollow Zoo
1512 210th Street
Manchester, IA 52057


                     CITATION AND NOTIFICATION OF PENALTY

We believe that you violated the Animal Welfare Act (7 U.S.C. § 2131 et seq.) (AWA), as
described below.


Date of Violation: August 16,2011
9 C.F.R. § 2.40(b)(2) Attending veterinarian and adequate veterinary care (dealers and
exhibitors).
(b) Each dealer or exhibitor shall establish and maintain programs of adequate veterinary care
that include:
(2) The use of appropriate methods to prevent, control, diagnose, and treat diseases and injuries,
and the availability of emergency, weekend, and holiday care;
          You failed to provide adequate veterinary care and use appropriate methods to prevent,
          control, diagnose, and treat diseases and injuries. On the above date, APHIS observed
          the following:
          I) A female Hamadryas baboon who appeared to be excessively thin with obvious
          signs of muscle loss and generalized hair loss; and
          2) A calico buck goat with excessively long hooves on both hind legs.

Date of Violation: August 16,2011
9 C.F.R. § 3.80(a)(2)(iii) Primary enclosures.
Primary enclosures for nonhuman primates must meet the following minimum requirements:
(a) General requirements.
(2) Primary enclosures must be constructed and maintained so that they:
(iii) Contain the nonhuman primates securely and prevent accidental opening of the enclosure,
including opening by the animal;
          You failed to provide primary enclosures that securely contain nonhuman primates.
          On the above date, APHIS observed a one year old Hamadryas baboon running across
          the roof of the nonhuman primate enclosure.

Date of Violation: August 16,2011
9 C.F.R. § 3.84(a) Cleaning, sanitization, housekeeping, and pest control.
(a) Cleaning of primary enclosures. Excreta and food waste must be removed from inside each
indoor primary enclosure daily and from underneath them as often as necessary to prevent an




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excessive accumulation of feces and food waste, to prevent the nonhuman primates from
becoming soiled, and to reduce disease hazards, insects, pests, and odors. Dirt floors, floors with
absorbent bedding, and planted areas in primary enclosures must be spot cleaned with sufficient
frequency to ensure all animals the freedom to avoid contact with excreta, or as often as
necessary to reduce disease hazards, insects, pests, and odors. When steam or water is used to
clean the primary enclosure, whether by hosing, flushing, or other methods, nonhuman primates
must be removed, unless the enclosure is large enough to ensure the animals will not be harmed,
wetted, or distressed in the process. Perches, bars, and shelves must be kept clean and replaced
when worn. If the species of the nonhuman primates housed in the primary enclosure engages in
scent marking, hard surfaces in the primary enclosure must be spot-cleaned daily.
          You failed to properly clean primary enclosures containing nonhuman primates. On
          the above date, APHIS observed an excessive amount of fecal matter on the perches
          inside the primary enclosures of both the rhesus macaques and the red ruffed lemur.

Date of Violation: August 16,2011
9 C.F.R. § 3.131(c) Sanitation.
(c) Housekeeping. Premises (buildings and grounds) shall be kept clean and in good repair in
order to protect the animals from injury and to facilitate the prescribed husbandry practices set
forth in this subpart. Accumulations of trash shall be placed in designated areas and cleared as
necessary to protect the health of the animals.
          You failed to keep the premises clean and free from accumulations of trash. On the
          above date, APHIS observed produce stored in the walkways behind the mammal
          section ofthe reptile house. APHIS also noted open bags of feed along with empty
          feed bags in the same area. Large amounts of old bedding material and other debris
          from enclosure maintenance were sitting along the walls in the walkway.

Date of Violation: December 8, 2011
9 C.F.R. § 2.40(b)(2) Attending veterinarian and adequate veterinary care (dealers and
exhibitors).
(b) Each dealer or exhibitor shall establish and maintain programs of adequate veterinary care
that include:
(2) The use of appropriate methods to prevent, control, diagnose, and treat diseases and injuries,
and the availability of emergency, weekend, and holiday care;
          You failed to provide adequate veterinary care and use appropriate methods to prevent,
          control, diagnose, and treat diseases and injuries. On the above date, APHIS observed
          goats with excessively long hooves.

Date of Violation: December 8, 2011
9 C.F.R. § 3.10 Watering.
If potable water is not continually available to the dogs and cats, it must be offered to the dogs
and cats as often as necessary to ensure their health and well-being, but not less than twice daily
for at least 1 hour each time, unless restricted by the attending veterinarian. Water receptacles



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must be kept clean and sanitized in accordance with§ 3.1l(b) ofthis subpart, and before being
used to water a different dog or cat or social grouping of dogs or cats.
          You failed to provide water to the dogs in your facility as often as necessary. On the
          above date, APHIS observed the sheep dog enclosure had no water for the two dogs
          housed therein. When water was supplied, the dogs drank vigorously and returned
          intermittently to drink.

Date of Violation: December 8, 2011
9 C.F.R. § 3.56(a)(l) Sanitation.
(a) Cleaning of primary enclosures.
( 1) Primary enclosures shall be kept reasonably free of excreta, hair, cobwebs and other debris
by periodic cleaning. Measures shall be taken to prevent the wetting of rabbits in such enclosures
if a washing process is used.
          You failed to keep primary enclosures reasonably free of excreta and hair. On the
          above date, APHIS observed the rabbit enclosures had an excessive amount of animal
          waste and hair in them.

Date of Violation: December 8, 2011
9 C.F.R. § 3.75(e) Housing facilities, general.
(e) Storage. Supplies of food and bedding must be stored in a manner that protects the supplies
from spoilage, contamination, and vermin infestation. The supplies must be stored off the floor
and away fi·om the walls, to allow cleaning underneath and around the supplies. Food requiring
refrigeration must be stored accordingly, and all food must be stored in a manner that prevents
contamination and deterioration of its nutritive value. Only the food and bedding currently being
used may be kept in animal areas, and when not in actual use, open food and bedding supplies
must be kept in leak-proof containers with tightly fitting lids to prevent spoilage and
contamination. Substances that are toxic to the nonhuman primates but that are required for
normal husbandry practices must not be stored in food storage and preparation areas, but may be
stored in cabinets in the animal areas.
          You failed to keep food stored in a manner that protects the supplies from spoilage,
          contamination, and vermin infestation. On the above date, APHIS observed several
          open boxes of produce and fruit stored in the nonhuman primate and education center.

Date of Violation: December 8, 2011
9 C.F.R. § 3.132 Employees.
A sufficient number of adequately trained employees shall be utilized to maintain the
professionally acceptable level of husbandry practices set forth in this subpat1. Such practices
shall be under a supervisor who has a background in animal care.
          You failed to provide a sufficient number of adequately trained employees to maintain
          a professionally acceptable level of husbandry. On the above date, APHIS noted that
          only two (2) persons regularly attend to all feeding, care, and maintenance of the




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          facility.

Date of Violation: June 29, 2012
9 C.F.R. § 2.40(b)(2) Attending veterinarian and adequate veterinary care (dealers and
exhibitors).
(b) Each dealer or exhibitor shall establish and maintain programs of adequate veterinary care
that include:
(2) The use of appropriate methods to prevent, control, diagnose, and treat diseases and injuries,
and the availability of emergency, weekend, and holiday care;
          You failed to provide adequate veterinary care and use appropriate methods to prevent,
          control, diagnose, and treat diseases and injuries. On the above date, APHIS observed
          the following:
          1) Llamas with long matted hair;
          2) An Angola rabbit with soiled, matted hair around its rear end and hind legs; and
          3) A sheepdog whose coat was starting to mat.

Date of Violation: June 29, 2012
9 C.F.R. § 3.75(e) Housing facilities, general.
(e) Storage. Supplies of food and bedding must be stored in a manner that protects the supplies
from spoilage, contamination, and vermin infestation. The supplies must be stored off the floor
and away from the walls, to allow cleaning underneath and around the supplies. Food requiring
refrigeration must be stored accordingly, and all food must be stored in a manner that prevents
contamination and deterioration of its nutritive value. Only the food and bedding currently being
used may be kept in animal areas, and when not in actual use, open food and bedding supplies
must be kept in leak-proof containers with tightly fitting lids to prevent spoilage and
contamination. Substances that are toxic to the nonhuman primates but that are required for
normal husbandry practices must not be stored in food storage and preparation areas, but may be
stored in cabinets in the animal areas.
          You failed to keep food stored in a manner that protects the supplies fi·om spoilage,
          contamination, and vermin infestation. On the above date, APHIS observed an open
          box of bananas stored in the nonhuman primate house.

Date of Violation: June 29,2012
9 C.F.R. § 3.84(a) Cleaning, sanitization, housekeeping, and pest control.
(a) Cleaning of primary enclosures. Excreta and food waste must be removed from inside each
indoor primary enclosure daily and from underneath them as often as necessary to prevent an
excessive accumulation of feces and food waste, to prevent the nonhuman primates from
becoming soiled, and to reduce disease hazards, insects, pests, and odors. Dirt floors, floors with
absorbent bedding, and planted areas in primary enclosures must be spot cleaned with sufficient
frequency to ensure all animals the freedom to avoid contact with excreta, or as often as
necessary to reduce disease hazards, insects, pests, and odors. When steam or water is used to
clean the primary enclosure, whether by hosing, flushing, or other methods, nonhuman primates




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must be removed, unless the enclosure is large enough to ensure the animals will not be harmed,
wetted, or distressed in the process. Perches, bars, and shelves must be kept clean and replaced
when worn. If the species of the nonhuman primates housed in the primary enclosure engages in
scent marking, hard surfaces in the primary enclosure must be spot-cleaned daily.
          You failed to properly clean primary enclosures containing nonhuman primates. On
          the above date, APHIS observed the indoor portion of the primate enclosure had more
          than one day's worth of feces.

Date of Violation: June 29, 2012
9 C.F.R. § 3.125(d) Facilities, general.
(d) Waste disposal. Provision shall be made for the removal and disposal of animal and food
wastes, bedding, dead animals, trash and debris. Disposal facilities shall be so provided and
operated as to minimize vermin infestation, odors, and disease hazards. The disposal facilities
and any disposal of animal and food wastes, bedding, dead animals, trash, and debris shall
comply with applicable Federal, State, and local laws and regulations relating to pollution
control or the protection of the environment.
          You failed to make provisions for the removal and disposal of animal and food waste,
          bedding, trash and debris. On the above date, APHIS observed an uncovered garbage
          can in the back animal area of the bird/reptile house filled with soiled bedding, and
          animal and food waste.

Date of Violation: June 29, 2012
9 C.F.R. § 3.131(d) Sanitation.
(d) Pest control. A safe and effective program for the control of insects, ectoparasites, and avian
and mammalian pests shall be established and maintained.
          You failed to implement a safe and effective program for the control of insects. On
          the above date, APHIS observed an excessive amount of flies and gnat like insects
          throughout the facility, including on an open box of produce.

Date of Violation: August 20,2012
9 C.F.R. § 3.84(a) Cleaning, sanitization, housekeeping, and pest control.
(a) Cleaning of primary enclosures. Excreta and food waste must be removed from inside each
indoor primary enclosure daily and from underneath them as often as necessary to prevent an
excessive accumulation of feces and food waste, to prevent the nonhuman primates from
becoming soiled, and to reduce disease hazards, insects, pests, and odors. Dirt floors, floors with
absorbent bedding, and planted areas in primary enclosures must be spot cleaned with sufficient
frequency to ensure all animals the freedom to avoid contact with excreta, or as often as
necessary to reduce disease hazards, insects, pests, and odors. When steam or water is used to
clean the primary enclosure, whether by hosing, flushing, or other methods, nonhuman primates
must be removed, unless the enclosure is large enough to ensure the animals will not be banned,
wetted, or distressed in the process. Perches, bars, and shelves must be kept clean and replaced
when worn. If the species of the nonhuman primates housed in the primary enclosure engages in



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scent marking, hard surfaces in the primary enclosure must be spot-cleaned daily.
           You failed to remove animal waste from inside each indoor primary enclosure on a
           daily basis and to clean soiled bedding material to ensure all animals the freedom to
           avoid contact with excreta. On the above date, APHIS observed an excessive amount
           of animal waste and soiled bedding material in the baboon enclosure. APHIS also
           observed a large pile of animal waste inside the ring-tailed lemur enclosure.

Date of Violation: August 20,2012
9 C.F.R. § 3.84(d) Cleaning, sanitization, housekeeping, and pest control.
(d) Pest control. An effective program for control of insects, external parasites affecting
nonhuman primates, and birds and mammals that are pests, must be established and maintained
so as to promote the health and well-being of the animals and reduce contamination by pests in
animal areas.
           You failed to institute an effective program for the control of insects. On the above
           date, APHIS observed an excessive amount of flies in the nonhuman primate house.

Date of Violation: August 20, 2012
9 C.F.R. § 3.131(a) Sanitation.
(a) Cleaning of enclosures. Excreta shall be removed from primary enclosures as often as
necessary to prevent contamination of the animals contained therein and to minimize disease
hazards and to reduce odors. When enclosures are cleaned by hosing or flushing, adequate
measures shall be taken to protect the animals confined in such enclosures from being directly
sprayed with the stream of water or wetted involuntarily.
           You failed to remove excreta from primary enclosures as often as necessary to prevent
           contamination of the animals contained therein. On the above date, APHIS observed
           an excessive amount of animal and food waste along with bedding material ground
           into the substrate of the bear enclosure.

Date of Violation: August 20, 2012
9 C.F.R. § 3.131(d) Sanitation.
(d) Pest control. A safe and effective program for the control of insects, ectoparasites, and avian
and mammalian pests shall be established and maintained.
           You failed to implement a safe and effective program for the control of insects. On
           the above date, APHIS observed an excessive amount of flies in and around the bear
           enclosure.

Date of Violation: November 26, 2012
9 C.F.R. § 3.1(a) Housing facilities, general.
(a) Structure; construction. Housing facilities for dogs and cats must be designed and constructed
so that they are structurally sound. They must be kept in good repair, and they must protect the
animals from injury, contain the animals securely, and restrict other animals fi·om entering.



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          You failed to ensure housing facilities were structurally sound. On the above date,
          APHIS observed the roof support inside the dog enclosure was broken in the middle,
          causing the roof to sag and bow at the break.

Date of Violation: November 26, 2012
9 C.F.R. § 3.131(a) Sanitation.
(a) Cleaning of enclosures. Excreta shall be removed from primary enclosures as often as
necessary to prevent contamination of the animals contained therein and to minimize disease
hazards and to reduce odors. When enclosures are cleaned by hosing or flushing, adequate
measures shall be taken to protect the animals confined in such enclosures from being directly
sprayed with the stream of water or wetted involuntarily.
          You failed to remove excreta from primary enclosures as often as necessary to prevent
          contamination of the animals contained therein. On the above date, APHIS observed
          an excessive build-up of animal waste and urine soaked bedding in primary enclosures
          for the capybara, porcupine, fennec foxes, and Meishan pigs.

Date of Violation: November 26,2012
9 C.F.R. § 3.131(c) Sanitation.
(c) Housekeeping. Premises (buildings and grounds) shall be kept clean and in good repair in
order to protect the animals from injury and to facilitate the prescribed husbandry practices set
forth in this subpart. Accumulations of trash shall be placed in designated areas and cleared as
necessary to protect the health of the animals.

          You failed to keep the buildings and grounds clean. On the above date, APHIS
          observed large amounts of dust, dirt and cobwebs adjacent to the wallaby, Patagonian
          cavy, and capybara enclosures. The feed storage room in the Education Center was
          also dirty and cluttered with open boxes of produce.

Date of Violation: February 13,2013
9 C.F.R. § 3.75(b) Housing facilities, general.
(b) Condition and site. Housing facilities and areas used for storing animal food or bedding must
be free of any accumulation of trash, waste material, junk, weeds, and other discarded materials.
Animal areas inside of housing facilities must be kept neat and free of clutter, including
equipment, furniture, or stored material, but may contain materials actually used and necessary
for cleaning the area, and fixtures and equipment necessary for proper husbandry practices and
research needs. Housing facilities other than those maintained by research facilities and Federal
research facilities must be physically separated from any other businesses. If a housing facility
is located on the same premises as any other businesses, it must be physically separated from the
other businesses so that animals the size of dogs, skunks, and raccoons, are prevented from
entering it.
          You failed to keep housing facilities fi·ee of any accumulation oftrash, waste material,
          junk and other discarded materials. On the above date, APHIS observed large




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          accumulations of dust, dirt, chicken feathers, and used sawdust on the floor around
          enclosures for the lemurs and capuchin. An electrical outlet with several cords
          plugged in to dirt was covered with dust dirt, cobwebs, and chicken feathers. APHIS
          found significant amounts of dust, dirt, and used bedding inside the nonhuman primate
          building, and floor tiles that were missing and exposed the wooden subfloor.

Date of Violation: February 13, 2013
9 C.F.R. § 3.125(a) Facilities, general.
(a) Structural strength. The facility must be constructed of such material and of such strength as
appropriate for the animals involved. The indoor and outdoor housing facilities shall be
structurally sound and shall be maintained in good repair to protect the animals from injury and
to contain the animals.
          You failed to ensure indoor and outdoor facilities were structurally sound and in good
          repair. On the above date, APHIS observed that the divider fence between the llamas
          and barbados sheep was damaged and bowing into either enclosure with sharp wires.

Date of Violation: February 13,2013
9 C.F.R. § 3.127(c) Facilities, outdoor.
(c) Drainage. A suitable method shall be provided to rapidly eliminate excess water. The method
of drainage shall comply with applicable Federal, State, and local laws and regulations relating
to pollution control or the protection of the environment.
          You failed to provide a suitable method to rapidly eliminate excess water. On the
          above date, APHIS observed that most of the coyote enclosure had standing water. A
          low area in front of the quonset shelter inside the goat and barbados sheep enclosure
          was also filled with standing water.

Date of Violation: February 13, 2013
9 C.F.R. § 3.131(a) Sanitation.
(a) Cleaning of enclosures. Excreta shall be removed from primary enclosures as often as
necessary to prevent contamination of the animals contained therein and to minimize disease
hazards and to reduce odors. When enclosures are cleaned by hosing or flushing, adequate
measures shall be taken to protect the animals confined in such enclosures fi·om being directly
sprayed with the stream of water or wetted involuntarily.
          You failed to remove excreta from primary enclosures as often as necessary to prevent
          contamination of the animals contained therein. On the above date, APHIS observed
          large accumulations of feces in three of the tiger enclosures, two ofthe lion enclosures
          and the primary enclosure of one wolf. A dark brown/black grime was seen on the
          walls and objects within the kinkajou and coatimundi enclosures. APHIS also noted
          that the bear enclosure continued to have animal waste and bedding materials ground
          into the substrate.




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The penalty for the alleged violation(s) described above is $6,857.




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